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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS
                                     TOPEKA DIVISION

   STATE OF KANSAS, ET AL.,                        §
                                                   §
            Plaintiffs,                            §
                                                   §
   v.                                              §
                                                   §    Civil Action No. 24-4041-JWB
   UNITED STATES DEPARTMENT OF                     §
   EDUCATION, ET AL.                               §
                                                   §
            Defendants.                            §

  PLAINTIFFS YOUNG AMERICA’S FOUNDATION’S, FEMALE ATHLETES UNITED’S,
  AND MOMS FOR LIBERTY’S NOTICE OF CORRECTIONS TO JULY 15, JULY 26, AND
                       JULY 31 LISTS OF SCHOOLS

          Plaintiffs Young America’s Foundation, Female Athletes United, and Moms for Liberty

 (Plaintiff Organizations) come forth and submit a notice of a list of corrections, clarifications,

 and amendments to the lists of schools they submitted on July 15, July 26, and July 31. In

 support of this Notice, Plaintiff Organizations advise the Court that they have been in contact

 with Defendants regarding corrections, clarifications, and amendments to the lists. Plaintiff

 Organizations represent that the vast majority of corrections, clarifications, and amendments

 are the result of schools changing names, duplication of schools on the lists, or mismatches

 between the name of a school in the Nation Center for Education Statistics (NCES)1 dataset

 and the name of a school on a given school district’s webpage. The list of corrections,

 clarifications, and amendments brings K-12 school names in line with those names found on a

 given school district’s webpage. In instances where Plaintiff Organizations were unable to

 either match a previously-listed school name to a school name on a district website or confirm a



1 The NCES is a subdivision of the United States Department of Education. It last published a

dataset of all public K-12 schools in the United States for the 2023-24 academic year. The dataset
may be found at: Common Core of Data (CCD) - CCD Data Files (ed.gov).
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school name with the member associated with the school in question, Plaintiff Organizations

have noted that the school may be removed from the list, subject to relisting upon verification of

the school’s true and correct name. Attached as Exhibit A is a list of corrections, clarifications,

and amendments to the K-12 schools that appeared on Plaintiff Organizations’ July 15, July 26,

and July 31 lists. Attached as Exhibit B is a list of corrections, clarifications, and amendments to

the list of colleges and universities submitted by Young America’s Foundation and Female

Athletes United on July 15, 2024.


Respectfully submitted this 13th day of September, 2024.


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                                  CERTIFICATE OF SERVICE

        This is to certify that on this the 13th day of September, 2024, this motion was

electronically filed with the Clerk of the Court by using the CM/ECF system with electronic

service to all counsel.



                                                                     /s/ Erin B. Gaide
                                                                     Erin B. Gaide




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